     Case 2:09-cr-00015-EFS    ECF No. 695   filed 05/08/09   PageID.1890 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     No. CR-09-015-EFS-10
                         Plaintiff,             )
 9                                              )     ORDER GRANTING UNOPPOSED
       v.                                       )     MOTION AND EXTEND CURFEW
10                                              )
       RANDY M. LEONG,                          )     G       as Moot
11                                              )
                         Defendant.             )
12                                              )

13
14          The Defendant, Randy Leong, having brought an unopposed Motion

15    to extend his curfew to 11:30 p.m. on the nights of May 8th and 9th

16    2009, in order to participate in his brother’s wedding,

17          IT IS ORDERED that the Defendant’s Motion (Ct. Rec. 686) is

18    GRANTED.    Defendant’s release conditions are modified in that his

19    curfew is extended until 11:30 p.m. on the nights of May 8, 2009,

20    and May 9, 2009.

21          DATED May 8, 2009.

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23                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION AND EXTEND CURFEW - 1
